Case 1:17-cv-00184-JFB-SRF Document 633 Filed 02/10/23 Page 1 of 4 PageID #: 25653
                                                                                     1313 North Market Street
                                                                                    Wilmington, DE 19899-0951
                                                                                                 302 984 6000

                                                                                              Philip A. Rovner
                                                                                                        Partner
                                                                                provner@potteranderson.com
                                                                                    302 984-6140 Direct Phone


                                        February 10, 2023

  BY CM/ECF AND HAND DELIVERY

  The Honorable Sherry R. Fallon
  U.S. District Court for the District of Delaware
  U.S. Courthouse
  844 North King Street
  Wilmington, DE 19801

                 Re:    Fraunhofer-Gesellschaft Zur Forderung der angewandten Forschung e.V.
                        v. Sirius XM Radio Inc. (C.A. No. 17-00184-JFB-SRF)

  Dear Judge Fallon:

  SXM respectfully submits this letter in response to FhG’s opening letter (D.I. 630) regarding the
  narrowing of § 112 arguments and sets forth its proposal herein. Specifically, SXM’s proposed
  definition of a § 112 argument and proposal to narrow those arguments to 36 total is a reasonable
  and balanced approach. It takes into consideration that SXM has already substantially reduced its
  number of § 112 arguments. Under this approach, SXM will be able to present its defenses while,
  at the same time, minimize the burden on the Court and the parties. As explained below, SXM’s
  proposal affords SXM an average of two § 112 arguments per asserted claim. This is fewer
  arguments than what this Court has permitted SXM to make per claim for its § 102 anticipation
  and § 103 obviousness defenses. D.I. 427.

  By contrast, FhG’s proposal fails to take into account, inter alia, the overlap with the remaining
  claim construction issues to be addressed during summary judgment. Indeed, FhG’s proposal
  limits SXM to a total of six § 112 arguments, in other words only one-third of an argument per
  asserted claim. Tellingly, FhG cites to no authority for its proposal (because there is none) and
  resorts to unproductive (and at times, misleading) rhetoric regarding the parties’ correspondence
  leading to the present dispute. SXM addresses, herein, the merits of its proposal and why the Court
  should adopt it.1



  1
    FhG claims that SXM failed to provide a counter-proposal. However, the correspondence makes
  clear that, despite SXM’s repeated requests for FhG to set forth a concrete proposal, it never did.
  D.I. 630, Ex. 1 at 5, 11-12, 15, 18. Indeed, contrary to FhG’s misrepresentations, FhG’s proposal
  was ever-changing, starting with a proposal that SXM narrow its § 112 arguments before the
  completion of expert reports. Id. at 18-19. FhG also ignored SXM’s request that FhG provide its
  proposed definition for a § 112 argument so that SXM could fully assess the proposal and provide
  a counter-proposal, if appropriate. See e.g., id. at 11-12. It was only after contending that the
  parties “have clearly reached an impasse” that FhG even attempted to provide a “definition” (i.e.
  the “worksheet”) (id. at 7-8), but that, as explained below, is insufficient.
Case 1:17-cv-00184-JFB-SRF Document 633 Filed 02/10/23 Page 2 of 4 PageID #: 25654
  The Honorable Sherry R. Fallon
  Page 2

  To begin, the table below sets forth the competing proposals by each party:

                         SXM’s Proposal                                      FhG’s Proposal
      Definition: A § 112 argument shall mean an argument        Definition:    “[T]hose      currently
      by Defendant that one or more claims fail to satisfy the   identified in the opening report of
      one or more requirements of § 112. By way of               [SXM’s] invalidity expert.” D.I. 630 at
      example, if Defendant argues that one or more claims       1.
      are invalid under one or more of the requirements of §
      112 based on a particular claim limitation, that shall     “[C]ounting method simply us[ing]
      count as a single argument. If other claims have the       each of the specific arguments
      same limitation that comprises the basis for the given     identified in the headings of SXM’s
      invalidity argument under § 112, that shall not count      invalidity expert report.” D.I. 630 at 2.
      as an additional § 112 argument.
      Number: 36 § 112 arguments                                 Number: 6 § 112 arguments

  Since the parties’ initial briefing on case narrowing, SXM has consistently maintained that a § 112
  argument should be defined as follows:

             A § 112 argument shall mean an argument by Defendant that one or more
             claims fail to satisfy the one or more requirements of § 112. By way of
             example, if Defendant argues that one or more claims are invalid under one or
             more of the requirements of § 112 based on a particular claim limitation, that
             shall count as a single argument. If other claims have the same limitation that
             comprises the basis for the given invalidity argument under § 112, that shall
             not count as an additional § 112 argument.

  D.I. 417 at 4; see also D.I. 420 at 3; D.I. 630, Ex. 1 at 7. SXM’s definition clearly sets forth the
  bounds of what constitutes a § 112 argument and, as this Court previously observed, “avoid[s]
  multiplying the argument count when a given limitation appears across several claims.” D.I. 427
  at 7 (citing D.I. 417, Ex. R at 3). While FhG previously agreed with this definition, it has
  backtracked at least twice. See e.g., D.I. 420 at 3 (citing Ex. M at 13-14) (Fraunhofer previously
  represented that “it seems we agree on the possibility of overlap and therefore a §112 argument
  across a number of different claims should not count as separate arguments for case narrowing
  purposes.”); see also D.I. 630, Ex. 1 at 10.2

  Now, FhG has, at best, set forth a moving target for the definition of a § 112 argument. See e.g.,
  D.I. 630, Ex. 1 at 5, 7, 11-12. Setting aside that FhG’s lack of clarity has impeded SXM’s
  meaningful attempts at resolution (see generally, D.I. 630, Ex. 1), it is clear that FhG’s approach
  greatly prejudices SXM’s presentation of its § 112 defenses. In particular, FhG (at 2) does not put
  forth a definition but rather a “counting method simply us[ing] each of the specific arguments
  identified in the headings of SXM’s invalidity expert report.” FhG’s proposed “counting method”

  2
    Tellingly, citing its own e-mail, FhG (at 3) contends that it “reiterated [its] proposed counting
  method during the parties’ telephonic meet and confer. The relevant correspondence, however,
  makes clear that FhG never provided a concrete proposed § 112 argument definition and its
  counsel, during the meet and confer, indicated that it “could” agree with SXM’s definition (which
  it later retracted). D.I. 630, Ex. 1 at 10.
Case 1:17-cv-00184-JFB-SRF Document 633 Filed 02/10/23 Page 3 of 4 PageID #: 25655
  The Honorable Sherry R. Fallon
  Page 3

  imposes unnecessary restrictions on SXM’s §112 arguments without taking into account that, as
  the Court previously instructed, additional claim construction will likely take place subsequent to
  FhG’s second narrowing of asserted claims.3 D.I. 427 at 4-5 (“the standard practice in this district
  is to address additional claim construction disputes in conjunction with summary judgment and
  Daubert motions. . . . Deferring additional claim construction until after dispositive motions are
  filed will allow the parties to first complete the case narrowing process, as well as fact and expert
  discovery.”).

  Specifically, there are currently at least eight means-plus-function claims that FhG is asserting that
  will require construction should FhG continue to assert them after its next election of asserted
  claims on March 21. This is further demonstrated by the “worksheet” FhG created (D.I. 630, Ex.
  2) based on “section headings” of SXM’s invalidity expert report. In particular, as shown in the
  highlighted Exhibit A hereto, at least 11 of the 36 “arguments” FhG identifies relate to the
  remaining means-plus-function claims that have not yet been construed. But, because these claims
  have yet to be construed, and in order to preserve its § 112 arguments under FhG’s “definition,”
  SXM would be required to include them in its § 112 argument narrowing but could not given
  FhG’s six argument limit. By contrast, SXM’s definition and number proposal ensure that SXM
  can pursue such arguments including those pending claim construction by the Court.

  Similarly inappropriate is FhG’s attempt to reduce the number of §112 arguments to a tiny number
  that would effectively preclude SXM from presenting an invalidity defense based on §112 for each
  asserted claim.4 This is highlighted by comparing the case narrowing that the Court has already
  set in connection with SXM’s anticipation and obviousness defenses.

  For example, the Court’s Case Narrowing Order (D.I. 427) requires that, across 18 asserted claims,
  SXM may elect 23 prior art references with 63 prior art arguments, amounting to an average of 3.5
  arguments per asserted claim. SXM’s proposal here is consistent with this in that it narrows its §
  112 arguments to 36 arguments – that is, an average of 2 arguments per claim. 5 Notably, SXM
  has already reduced the § 112 arguments it is asserting by about three quarters from the 136 § 112

  3
    FhG’s counsel previously acknowledged that § 112 arguments implicating means-plus-function
  claims are to be addressed during summary judgment briefing. Ex. B at 20:24-21:4 (“This attempt
  to use this excess of claim terms as a lever to get an early summary judgment motion on a whole
  bunch of means-plus-function claims and have them dismissed from the case at a premature stage
  is not improper, it’s unprecedented, and it’s extremely prejudicial to [FhG].”).
  4
    While certain of the § 112 arguments may become moot upon FhG’s next narrowing of asserted
  claims (to the extent it elects to not pursue unconstrued means-plus-function claims), there is no
  basis to prejudice SXM’s pursuit of its invalidity defenses under § 112 at this point. See Huber
  Engineered Woods LLC v. Louisiana-Pacific Corp., Case No. 1:19-cv-00342-GBW-SRF, D.I. 492
  at 26 (D. Del. Nov. 17, 2022) (Ex. C) (“[Plaintiff’s] concerns about the number of § 112 invalidity
  arguments asserted [] are likely to be addressed by [Plaintiff’s] own reduction in the number of
  asserted claims.”).
  5
    In total, this would amount to an average of 5.5 arguments per claim consistent with precedent
  in this District. See e.g., TQ Delta LLC v. 2Wire Inc., Civ. No. 1:13-cv-01835-RGA, D.I. 1415
  (D. Del. Oct. 30, 2020) (Ex. D) (reducing, three months before trial, invalidity defenses under §§
  102, 103 and 112 to six per claim); see also D.I. 417, Ex. K at 3.
Case 1:17-cv-00184-JFB-SRF Document 633 Filed 02/10/23 Page 4 of 4 PageID #: 25656
  The Honorable Sherry R. Fallon
  Page 4

  arguments in its invalidity contentions (a point which FhG ignores). SXM’s proposal is also
  reasonable in light of its prior proposal during the parties’ initial round of briefing on case
  narrowing in which SXM proposed a final narrowing of § 112 arguments to 68 across its proposed
  14 asserted claims (i.e., an average of 4-5 § 112 arguments per asserted claim). D.I. 417 at 2, 5.
  In short, SXM has already self-narrowed its § 112 arguments and now seeks to have a reasonable
  number of arguments consistent with the narrowing this Court already ordered in connection with
  the anticipation and obviousness analyses.

  By contrast, FhG’s current proposal presents a drastic reduction from its prior proposal to the Court
  while making matters worse in disregarding the fact that SXM has already narrowed these
  arguments to a very reasonable amount. FhG now seeks to limit SXM to less than one § 112
  argument per asserted claim (that is, a total of six § 112 arguments across 18 asserted claims or
  one-third of an argument per asserted claim). Yet, its previous proposal narrowed the § 112
  arguments to 20 across its proposed 25 asserted claims (although still an unreasonable proposal as
  it provides less than one argument per asserted claim but not nearly as low as one-third per claim).
  D.I. 417 at 2, 5. Notably, it appears FhG seeks to take advantage of SXM’s self-narrowing, hoping
  this Court may split the difference and impose even more restrictions to minimize a finding that
  its asserted claims violate § 112. Such an unbalanced and prejudicial approach is telling and should
  be rejected.

  For these reasons, SXM respectfully requests that its proposal be adopted.


                                                        Respectfully,

                                                        /s/ Philip A. Rovner

                                                        Philip A. Rovner (#3215)


  Attachments
  cc: Counsel of Record – by CM/ECF and E-mail
